    Case 19-22693-JKS        Doc 33    Filed 09/06/19 Entered 09/07/19 14:44:52                   Desc Main
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